       Case 1:25-cv-10498-RGS            Document 38     Filed 04/01/25     Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

 HAITIAN-AMERICANS UNITED INC.;
 VENEZUELAN ASSOCIATION OF
 MASSACHUSETTS; UNDOCUBLACK
 NETWORK, INC.; SYDNEY DOE; MARLENE
 DOE; GUSTAVO DOE; and NATALIA DOE,
                                                        Civil Action No. 25-cv-10498-RGS
                               Plaintiffs,

                       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S. DEPARTMENT
 HOMELAND SECURITY; and KRISTI NOEM, in
 her official capacity as Secretary of the Department
 of Homeland Security,

                                 Defendants.


               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs Haitian Americans United, Inc. (“HAU”), Venezuelan Association of

Massachusetts (“VAM”), UndocuBlack Network Inc. (“UBN”) and the four individual Plaintiffs

respectfully submit this notice of supplemental authority to inform the Court of recent

developments in the related case National TPS Alliance et al. v. Kristi Noem et al., 25-cv-01766,

in the Northern District of California. On March 31, 2025, the court in that case granted the

plaintiffs' motion to postpone the Venezuela Vacatur and the Venezuela Termination. A copy of

the decision is attached as Exhibit A.




                                               1
      Case 1:25-cv-10498-RGS   Document 38    Filed 04/01/25       Page 2 of 3




Dated: April 1, 2025                     Respectfully submitted,

                                         /s/ Mirian Albert__________
                                         Mirian Albert (BBO #710093)
                                         Oren Sellstrom (BBO #569045)
                                         Iván Espinoza-Madrigal (BBO # 708080)
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                                     2
       Case 1:25-cv-10498-RGS           Document 38        Filed 04/01/25      Page 3 of 3




                                 CERTIFICATE OF SERVICE

I hereby certify that on April 1, 2025, the above-captioned document was filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), and paper copies will be sent to those indicated as non-registered
participants.




                                                      /s/Mirian Albert
                                                     Mirian Albert (BBO #710093)




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